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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION

                                  CASE NO.: 1:18-CV-21365-KMW

   ST. LOUIS CONDOMINIUM
   ASSOCIATION INC.

          Plaintiff,
   vs.

   ROCKHILL INSURANCE COMPANY,

         Defendant.
   __________________________________________/

    PLAINTIFF’S MOTION FOR RECONSIDERATION OF THE COURT’S MARCH 11,
      2019 ORDER DENYING PLAINTIFF’S OMNIBUS MOTION FOR SANCTIONS

          Plaintiff, St. Louis Condominium Association, Inc. (“Plaintiff”), through undersigned

   counsel, and pursuant to 28 U.S.C. § 636(b)(1)(A), and Federal Rule of Civil Procedure 72(a),

   files Plaintiff’s Motion for Reconsideration and rehearing of the Court’s March 11, 2019 Order

   On Plaintiff’s Omnibus Motion for Sanctions (the “Order”) [D.E. 131], and in support thereof,

   states as follows:

                                             SUMMARY

          Defendant, Rockhill Insurance Company (the “Defendant”), has engaged in discovery

   abuse throughout this litigation. In an effort to prevent substantial prejudice, Plaintiff was

   regretfully obligated to file numerous motions for sanctions. See [D.E. 26, 57, 80, 83, 88, 89,

   131]. In each of Plaintiff’s motions for sanctions, Plaintiff outlined the egregious obstructionist

   behavior by the Defendant that has resulted in discovery being irretrievably broken.

   Unfortunately, despite a plethora of attempts to engage in fair discovery, and obtain relief for



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   Defendant’s failure to reciprocate, Plaintiff has been denied relief that it rightfully deserves. As a

   result, Plaintiff has suffered immense prejudice, while the Defendant, the catalyst of Plaintiff’s

   prejudice, has been allowed to skirt the rules of discovery without repercussion. This type of

   conduct runs afoul to the United States District Court for the Southern District of Florida’s Order

   Setting Discovery Procedures and the purposes of discovery set forth in Fed. R. Civ. P. Rule 1.

   Thus, this Court should reconsider the Order.

       I.      FACTUAL BACKGROUND.

            Plaintiff is a thirty-one (31) story condominium building located at 800 Claughton Island

   Drive, Miami, Florida 33131 (the “Property”). The Property contains one hundred and thirty-four

   (134) condominium units on Brickell Key, an island just east of Downtown Miami. On

   September 10, 2017, the Plaintiff suffered catastrophic damage to its Property as the result of

   Hurricane Irma. After considerable delay and four (4) inspections by the Defendant over the

   course of five and a half months, the Plaintiff was forced to file a lawsuit for breach of contract

   as the Defendant never rendered a coverage decision or issued payment for covered damages to

   the Property.1

            The basis of this Motion for Reconsideration is two-fold. First, Plaintiff is of the opinion

   that the Order is clearly erroneous or contrary to law because the striking of Defendant’s

   pleadings, in light of the facts and circumstances, is warranted. Due to the clearly egregious

   behavior exhibited by Defendant throughout this litigation, the decision not to impose any form

   of sanction is clearly erroneous or contrary to law.




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          Rather than outline the facts in full in this Motion, should this Court wish to review each
   instance of Defendant’s egregious conduct, Plaintiff refers this Court to [D.E. 26, 57, 80, 83, 88,
   89, and 131]. The facts as outlined therein establish a clear record of delay and willful contempt
   by Defendant.
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            In addition, Plaintiff is of the opinion that the Order, coupled with the Court’s decision to

   deem prior motions filed by Plaintiff [D.E. 80, 83, 88, and 89] as moot, is clearly erroneous and

   contrary to law as Plaintiff’s prior motions were not duplicative of [D.E. 131], and the ultimate

   result fails to provide the Plaintiff any remedy for the prejudice it has faced, all while allowing

   Defendant to skirt the clear requirements set forth in the Federal Rules of Civil Procedure.

   Specifically, by denying each of Plaintiff’s prior motions as moot without addressing the merits,

   and then denying Plaintiff’s Omnibus Motion for Sanctions, the Court has effectively refused to

   consider Plaintiff’s Motions, thus leaving Plaintiff without any relief to remedy the substantial

   prejudice it has suffered. To the extent that this Court does not agree that the striking of

   Defendant’s pleadings is the appropriate remedy, this Court should address the issues raised in

   Plaintiff’s previous motions for sanctions—which the Order failed to do—and consider the

   issues raised therein.

      II.      LEGAL STANDARD.

            28 U.S.C. § 636(b)(A) provides that “a judge of the court may reconsider any pretrial

   matter under this subparagraph (A) where it has been shown that the magistrate judge’s order is

   clearly erroneous or contrary to law.” See 28 U.S.C. § 636(b)(A). Federal Rule of Civil

   Procedure 72(a) allows a party to provide specific, written objections to a magistrate judge’s

   non-dispositive order within 14 days after being served with a copy of the order. See Fed. R. Civ.

   P. 72(a). A district court must consider proper objections and “modify or set aside” any portion

   of the magistrate judge’s order that “is clearly erroneous or is contrary to law.” See Carvelli v.

   Ocwen Financial Corporation, No. 9:17-cv-80500-ROSENBERG/HOPKINS, 2017 WL

   3473482 (S.D. Fla. Aug. 14, 2017) (citing Fed. R. Civ. P. 72(a)).




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          When Fed. R. Civ. P. 72(a) applies, a court will consider whether any objected-to aspect

   of the order is clearly erroneous or contrary to law. Id. A finding is “clearly erroneous” when

   although there is evidence to support it, the reviewing court on the entire evidence is left with the

   definite and firm conviction that a mistake has been committed. Id. at *2. (citing Krys v.

   Lufthansa German Airlines, 119 F.3d 1515, 1523 (11th Cir. 1997)). An order is contrary to law

   when it fails to apply or misapplies relevant statutes, case law or rules of procedure. Id. (citing

   Tolz v. Geico Gen. Ins. Co., No. 08-cv-80663, 2010 WL 384745, at *2 (S.D. Fla. Jan. 27, 2010)).

      A. Standard Applicable to Rule 37 Sanctions.

          A district Court has broad authority under Rule 37 to control discovery. Federal Rule of

   Civil Procedure 37(b) authorizes the court to impose such sanctions “as are just” against a party

   that violates an order compelling discovery. Fed. R. Civ. P. 37(b)(2). The Rule includes a list of

   possible sanctions:

                (i)     Directing that the matters embraced in the order or the other designated facts
                        be taken as established for purposes of the action, as the prevailing party
                        claims;
                (ii)    Prohibiting the disobedient party from supporting or opposing designated
                        claims or defenses, or from introducing designated matters in evidence;
                (iii)   Striking pleadings in whole or in part;
                (iv)    Staying further proceedings until the order is obeyed;
                (v)     Dismissing the action in whole or in part;
                (vi)    Rendering a default judgment against the disobedient party; or
                (vii)   Treating as contempt of court the failure to obey any order except an order to
                        submit to a physical or mental examination.

   Fed. R. Civ. P. 37(b)(2)(A).

      B. The Failure to Impose Sanctions Against Defendant Is Clearly Erroneous.

          A significant issue in this case is the date which work product attaches for Defendant, the

   insurer. Defendant has repeatedly argued that work-product began well before Defendant could

   have reasonably anticipated litigation. Thus, on November 5, 2018, in an effort to resolve this



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   issue, the Court ruled that Defendant was to submit all documents to the Court through the date

   litigation commenced for an in-camera inspection. To date, however, in direct violation of this

   Court’s order, Defendant has withheld over 1500 pages that Plaintiff is aware of from the Court

   ordered In-Camera inspection. See [D.E. 131]. Despite the fact that Defendant was, and remains,

   in direct violation of a court order, this Court elected not to impose any sanctions. See [D.E.

   180].

           The fact of the matter is that Defendant has hid behind the inapplicable work product

   doctrine throughout this litigation in order to shield documents from discovery. This court

   attempted to finally resolve this issue, and Defendant’s willful, deliberate and contumacious

   behavior has prevented this Court from doing so. As a result, Plaintiff has suffered substantial

   prejudice, as Plaintiff has not been able to conduct discovery, depose material witnesses or

   experts with proper preparation and otherwise prepare for trial. Defendant’s conduct throughout

   this litigation is worthy of some form of sanction, not a free-pass for engaging in discovery abuse

   that is the epitome of gamesmanship and strongly discouraged by the federal courts.

      i.      Defendant’s Responses to Plaintiff’s Motions for Sanctions Misled the Court.

           Each time the Plaintiff sought relief from this Court, the Defendant submitted a response

   that contained superfluous, unrelated information in an effort to deflect from addressing the

   pointed issue contained within the Plaintiff’s Motions. Defendant’s responses caused the Plaintiff

   to tread carefully so that the Court would not garner the opinion that Plaintiff was engaging in

   the same type of behavior as the Defendant. Nevertheless, the Order concluded that the disputes

   raised by Plaintiff were caused, in part, by Plaintiff’s own acts. See [D.E. 180]. Plaintiff believes

   that this conclusion is not drawn from the facts of the case, but is instead the result in which

   Defendant hoped for when it continued to muddy the waters each time Plaintiff sought relief



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   from the Court. Thus, in light of the fact that the discovery issues in this case arose solely from

   the actions of the Defendant, Plaintiff requests the Court to reconsider its Order as clearly

   erroneous.

      C. This Court’s Denial of Plaintiff’s Prior Motions as Moot is Contrary to Law.

       Plaintiff filed the following motions for sanctions:

            1.    Motion for Sanctions for Defendant’s Failure to Provide Verified Interrogatories,
                  [D.E. 80];
            2.    Motion for Sanctions for Defendant’s Obstruction of Discovery and for Violation
                  of this Court’s Order, [D.E.83];
            3.    Motion for Sanctions for Defendant’s Failure to Proceed with the Subpoenaed
                  Deposition of the Corporate Representative of GlobalPro Recovery, Inc, [D.E.
                  88]; and
            4.    Motion for Sanction for Defendant’s Failure to Appear at the Subpoenaed
                  Deposition of Paul Millard and the Corporate Representative of Building
                  Solutions & Consultants, [D.E. 89].

          On February 13, 2019, this Court denied each of the above stated motions as moot in

   light of Plaintiff’s Omnibus Motion for Sanctions. [D.E. 131]. The issues raised in the above

   stated motions, however, were not addressed in this Court’s Order. See [D.E. 180]. For example,

   in [D.E. 80], Plaintiff requested this Court to sanction Defendant for its failure to provide

   verified answers to Plaintiff’s First and Second Set of Interrogatories pursuant to Federal Rule of

   Evidence Rule 33(b)(3). Therein, Plaintiff stated that despite this Court requiring Defendant to

   provide responses, Defendant provided verified amended responses solely pertaining to

   Plaintiff’s First Set of Interrogatories numbers 6, 7, 8, and 11, but the remainder were not

   similarly amended. In [D.E. 83], Plaintiff sought sanctions for Defendant’s withholding of

   critical documents from Plaintiff and failing to put the omitted documents on a privilege log.

   Plaintiff also informed the Court even after the Court overruled Defendant’s Objection to the

   Plaintiff’s subpoena duces tecum to a non-party, that Defendant nevertheless thwarted Plaintiff’s

   ability to timely obtain discoverable records.

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          Moreover, in [D.E. 88], Plaintiff sought sanctions against the Defendant because the

   Defendant failed to show up for a scheduled deposition in violation of Federal Rules of Civil

   Procedure 37(d)(1) and 45(d)(1). Finally, in [D.E. 89], Plaintiff sought sanctions against

   Defendant for its actions which impeded, delayed, and frustrated the fair examination of one of

   Defendant’s experts in violation of Federal Rule of Civil Procedure 30(d)(2).

          As stated above, each of these motions were denied as moot; however, the Order does not

   address any of the issues raised by Plaintiff, but instead denies Plaintiff’s Omnibus Motion for

   Sanctions in one paragraph. The denial of Plaintiff’s Omnibus Motion for Sanctions, and denial

   of all other motions, fails to relieve Plaintiff of the prejudice it has suffered—and continues to

   suffer—as a result of Defendant’s conduct.

           Accordingly, to the extent that this Court does not believe that the ultimate sanction of

   striking Defendant’s pleadings is appropriate, the failure to provide any remedy to Plaintiff, in

   light of Defendant’s egregious conduct and the prejudice suffered by Plaintiff, should be

   considered contrary to law or clearly erroneous. See Aztec Steel Co. v. Fla. Steel Corp., 691 F.2d

   480, 482 (11th Cir. 1982) (“Rule 37 sanctions are imposed not only to prevent unfair prejudice to

   the litigants but also to insure the integrity of the discovery process.”).

          WHEREFORE, Plaintiff, St. Louis Condominium Association, Inc., respectfully

   requests that the Court enter an Order which (a) grants Plaintiff’s Motion for Reconsideration of

   the Court’s March 11, 2019 Order on Plaintiff’s Omnibus Motion for Sanctions; (b) reverses the

   Order to the extent that it fails to impose any sanctions on Defendant for its repeated abuse of the

   discovery process; (c) alternatively, reverses the Court’s Order denying [D.E. 80, 83, 88, and 89]

   as moot, and considers the motions on the merits; and (d) provides such further relief as this

   Court deems just and proper under the circumstances.



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                               CERTIFICATE OF CONFERENCE

          Counsel for Plaintiff certifies that, in accordance with S.D. Fla. F.R. 7.1(a)(3) that they

   have made reasonable efforts to confer with counsel for defendant on the relief sought herein,

   including a telephone conference on March 25, 2019, but has been unable to do so.


                                  CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

   electronic notification generated by CM/ECF system on 25 day of March, 2019 to: Lauren D.

   Levy, Esq., Levy Law Group, 3399 Ponce De Leon Blvd, Suite 202, Coral Gables, Florida 33134;

   lauren@levylawgroup.com; Lourdes@levylawgroup.com and Jocelyn@levylawgroup.com.



                                                               Respectfully submitted,
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                                                          By: /s/ Susan C. Odess
                                                              Susan C. Odess
                                                              Florida Bar No. 99077




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